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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                                  WAYCROSS DIVISION
                                                                                      FILED
                                                                               Scott L. Poff, Clerk
                                                                            United States District Court

                                                                        By casbell at 2:14 pm, Nov 04, 2019
UNITED STATES OF AMERICA,

        V.                                              CASENO.:519-cr-3


 CHRISTOPHER EDWARD MARX,

               Defendant.



                                         ORDER


       After an independent review of the record, the Court concurs with the Magistrate Judge's

Report and Recommendation, to which no objections have been fiied. Accordingly, the Report

and Recommendation of the Magistrate Judge is adopted as the opinion of the Court.

       SO ORDERED,this ^ day of November, 2019.



                                    LISA GpDBEY WOOD
                                    UNITEUSJATES DISTRICT JUDGE
                                    SOUTHroN DISTRICT OF GEORGIA
